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PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-hdh11
OF AMERICA and SEA GIRT LLC                       §
                                                  §
        DEBTORS1                                  §                JOINTLY ADMINISTERED


        APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION AND
          EMPLOYMENT OF NELIGAN LLP AS COUNSEL TO THE DEBTOR

      A HEARING WILL BE CONDUCTED ON THIS MATTER ON FEBRUARY 24,
2021 AT 2:00 PM IN COURTROOM #3, EARL CABELL FEDERAL BUILDING, 1100
COMMERCE STREET, 14TH FLOOR, DALLAS, TEXAS. IF YOU OBJECT TO THE
RELIEF REQUESTED, YOU MUST RESPOND IN WRITING, SPECIFICALLY
ANSWERING EACH PARAGRAPH OF THIS PLEADING. UNLESS OTHERWISE
DIRECTED BY THE COURT, YOU MUST FILE YOUR RESPONSE WITH THE CLERK
OF THE BNAKRUPTCY COURT WITHIN TWENTY-ONE DAYS FROM THE DATE
YOU WERE SERVED WITH THIS PLEADING. YOU MUST SERVE A COPY OF YOUR
RESPONSE ON THE PERSON WHO SENT YOU THE NOTICE; OTHERWISE, THE
COURT MAY TREAT THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF
REQUESTED.



1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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          The National Rifle Association of America and Sea Girt LLC (collectively the “Debtors”),

as debtors and debtors-in-possession, file this application (the “Application”) pursuant to Sections

327 and 328 of the Bankruptcy Code,2 Rule 2014 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), and Rule 2014-1 of the Local Bankruptcy Rules of the United States

Bankruptcy Court for the Northern District of Texas (“N.D. Tex. L.B.R.”) to request entry of an

order substantially in the form attached hereto as Exhibit A authorizing the Debtors to retain and

employ Neligan LLP (“Neligan”) as the Debtors’ counsel in the above-referenced jointly

administered chapter 11 bankruptcy cases. In support of this Application, the Debtors submit the

Declaration of Patrick J. Neligan, Jr., a partner in Neligan LLP, attached hereto as Exhibit B and

incorporated herein by reference, as well as the Declaration of John Frazer, attached hereto as

Exhibit C and incorporated herein be reference, which is the verification required by the Appendix

B Guidelines of the United States Trustee for Reviewing Applications for Compensation and

Reimbursement of Expenses Filed under United States Code by Attorneys in Larger Cases (the

“UST Guidelines”). In addition, the Debtors states as follows:

                                                I. BACKGROUND

          1.       On January 15, 2021 (the “Petition Date”), the Debtors filed their voluntary

petitions for relief under Chapter 11 of the Bankruptcy Code. The Debtors remains in possession

of their property and are operating their businesses as debtors-in-possession in accordance with

Sections 1107 and 1108 of the Bankruptcy Code. A detailed description of the Debtors’ business,

capital structure, and the events leading to the Debtors’ bankruptcy is set forth in the Declarations

of Shawne E. Soto [Docket No. 10], Robert G. Owens [Docket No. 11], and Sonya B. Rowling



2
    11 U.S.C. §§ 101, et seq. Unless otherwise noted, all statutory references herein are to the Bankruptcy Code.


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[Docket No. 12] (the “First-Day Declarations”) and Debtors’ Informational Brief in Connection

with Voluntary Chapter 11 Petitions [Docket No. 31] filed on January 20, 2021 and are

incorporated herein by reference.

        2.      On January 20, 2021, the Court entered an order [Docket No. 36] authorizing the

joint administration and procedural consolidation of the Chapter 11 Cases pursuant to Bankruptcy

Rule 1015(b).

        3.      The Debtors are operating their businesses and managing their properties as debtors

in possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

                                     II. RELIEF REQUESTED

        4.      A debtor-in-possession, “with the court’s approval, may employ one or more

attorneys . . . that do not hold or represent an interest adverse to the estate, and that are disinterested

persons, to represent or assist the [debtor in possession] in carrying out [its] duties under this title.”

11 U.S.C. § 327(a). Such employment may be based “on any reasonable terms and conditions of

employment, including on a retainer, on an hourly basis, on a fixed percentage fee basis, or on a

contingent fee basis.” Id. § 328(a). Subject to the approval by the Court, the Debtors have

employed Neligan as their bankruptcy counsel in connection with these cases. Pursuant to Sections

327(a) and 328(a) of the Bankruptcy Code, the Debtors request that the Court approve the

employment of Neligan as its counsel on the terms set forth below to perform the legal services

that will be necessary during the bankruputcy cases. Consistent with N.D. Tex. L.B.R. 2014-

1(b)(1), the Debtors request that Neligan’s employment be approved as of the Petition Date.

                               III. NELIGAN’S QUALIFICATIONS

        5.      The Debtors seek to retain Neligan as their bankruptcy counsel because of

Neligan’s extensive experience in representing both privately held and publicly traded businesses


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in out-of-court restructurings and Chapter 11 bankruptcy proceedings in this Court and around the

country. In preparing for this case, Neligan has become generally familiar with Debtors’ current

financial condition, business operations, and many of the issues that will be addressed in these

cases. To date, Neligan has been integrally involved in all phases of the the Debtors’ bankruptcy

filing, the preparation of the Debtor’s first-day pleadings and the hearing thereon, and will continue

to be involved in all aspects of the Debtors’ proposed restructuring and plan of reorganization.

Accordingly, the Debtors believe that Neligan has the necessary experience, background, and

familiarity with the Debtors to deal effectively with many of the potential legal issues and problems

that may arise in the context of these cases, and that Neligan is both well-qualified and able to

represent the Debtors in an efficient and effective manner.

                      IV. SERVICES TO BE PROVIDED BY NELIGAN

       6.      The services of Neligan are necessary to enable the Debtors to execute their duties

as debtors-in-possession. Subject to further order of this Court, Neligan will render the customary

professional services provided by counsel to a Chapter 11 debtor, including:

               (a)     advising the Debtors, their management and officers of their rights, powers,
                       and duties as debtors-in-possession;

               (b)     counseling the Debtors’ management and officers on issues involving
                       operations, potential sales of assets, and possible financing options;

               (c)     negotiating documents, preparing pleadings, and representing the Debtors
                       at hearings related to those matters;

               (d)     taking all necessary actions to protect and preserve the Debtors’ estates,
                       including prosecuting certain litigation on Debtors’ behalf, investigating
                       claims of the Debtors, defending the Debtors, if necessary, in actions,
                       litigation, hearings or motions commenced against the Debtors, negotiating




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                           disputes in which the Debtors are involved, and preparing objections to
                           claims filed against the estate;3

                  (e)      preparing on behalf of the Debtors all necessary motions, applications,
                           answers, pleadings, orders, reports, and papers in administration of the
                           estates or in furtherance of the Debtors’ business operations, or as required
                           to preserve the Debtors’ assets, and as otherwise requested by the Debtors’
                           management;

                  (f)      negotiating and drafting documents relating to debtors-in-possession
                           financing and/or use of case collateral, if any, and attend any hearings on
                           such matters, prepare discovery and respond to discovery served on the
                           Debtors, response to creditor inquiries and information requests, assist with
                           preparation of Schedules, Statements of Financial Affairs, Monthly
                           Operating Reports, attendance at the Initial Debtor Interview and the
                           Section 341 creditors’ meeting and representation in connection with
                           meetings, discussions and negotiations with creditors, as well as any
                           committee appointed by the United States Trustee;

                  (g)      counseling the Debtors in connection with the Debtors’ restructuring in
                           these cases;

                  (h)      drafting, negotiating, and pursuing confirmation on behalf of the Debtors a
                           plan of reorganization, the related disclosure statement, and any revisions,
                           amendments, and supplements relating to the foregoing documents, and all
                           related transaction documents, and other ancillary documents and materials;
                           and

                  (i)      performing all other necessary legal services in connection with these cases
                           and any other bankruptcy-related representation that the Debtors may
                           require.

Neligan has stated its desire and willingness to act in this case and render the necessary

professional services as counsel to the Debtors. The Debtors require knowledgeable counsel to

render these essential professional services. As noted above, Neligan has substantial expertise in




3
 By separate Application, the Debtors are seeking authority to retain Brewer Attorneys and Counselors (“BAC”) as
Special Counsel to the Debtors for purposes of certain litigation matters. This category of services to be rendered by
Neligan is intended to encompass bankruptcy-related litigation other than the litigation for which the Debtors seek to
employ BAC as Special Counsel.


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all these areas. As a result, Neligan is well-qualified to perform these services and represent the

Debtors’ interests in these cases.

       7.      The Debtors may, from time to time, request that Neligan undertake specific

matters beyond the scope of the specific responsibilities set forth above, which may arise in

connection with these cases. Should Neligan agree, in its sole discretion, to undertake any specific

additional matters in connection with these cases, the Debtors seek authority herein to employ

Neligan for such matters, in addition to those specifically set forth above, without further order of

this Court. Nonetheless, Neligan believes that tasks outlined above cover all customary and usual

work performed by counsel to a debtor-in-possession.

                          V. PAYMENT OF FEES AND EXPENSES

       8.      Prior to the Petition Date, the Debtors paid to Neligan a retainer of $350,000.00 for

work to be performed pre-petition to prepare for these bankruptcy cases. Neligan was paid an

additional $98,600 on or about January 8, 2021, and drew down the full amount of its retainer to

pay for its pre-petition work before the filing of these cases. Any pre-petition fees and expenses

in excess of Neligan’s pre-petition retainer of $448,600 were written off. Therefore, Neligan was

paid in full for its pre-petition work prior to the commencement of these bankruptcy cases.

       9.      Neligan also received a retainer of $1,000,000 before the filing of these cases, to be

applied to Neligan’s post-petition work in these bankruptcy cases, which Neligan is holding in its

trust account for the Debtors. Subject to the Court’s approval, Neligan will charge for its legal

services on an hourly basis in accordance with its ordinary and customary hourly rates in effect on

the date services are rendered. Neligan attorneys’ rates range from $525 - $725 per hour while the

rate for firm paralegals is $150 per hour. These rates may change from time to time in accordance

with Neligan’s established billing practices and procedures. Neligan will maintain detailed,


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contemporaneous records of time and any actual and necessary expenses incurred in connection

with the rendering of the legal services described above by category and nature of the services

rendered.

       10.     Neligan will apply to the Court for payment of compensation and reimbursement

of expenses in accordance with applicable provisions of the Bankruptcy Code, and the Bankruptcy

Rules, the guidelines promulgated by the Office of the United States Trustee, and the Local Rules

and orders of this Court, and pursuant to any additional procedures that may be established by the

Court in this case.

              VI. DISCLOSURE CONCERNING CONFLICTS OF INTEREST

       11.     To the best of Debtors’ knowledge, information and belief, Neligan represents no

interests adverse to the Debtors. Neligan has been paid for or waived its fees for all pre-petition

work for the Debtors and is not a creditor of the Debtors. Other than the matters disclosed in the

Neligan Declaration, Neligan has no further connection with any of the Debtors’ creditors, the

United States Trustee, or any other party with an actual or potential interest in the cases. The

Debtors believe that Neligan is a “disinterested person,” as defined in Section 101(14) of the

Bankruptcy Code. The Debtors submit that the employment of Neligan would be in the best

interest of the Debtors and their estate.

                  VII. ANSWERS TO QUESTIONS AND VERIFICATION
                           REQUIRED BY UST GUIDELINES

       12.     Pursuant to the UST Guidelines, Neligan has answered the following questions:

               (a)     Did Neligan agree to any variations from, or alternatives to, your standard

customary billing arrangements for this engagement? Answer: No.




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                  (b)     Do any of the professionals included in this engagement vary their rate

based on the geographic location of the bankruptcy case? Answer: No.

                  (c)     If Neligan represented the client in the 12 months prepetition, disclose your

billing rates and material financial terms for the prepetition engagement, including any adjustments

during the 12 months prepetition. If your billing rates and material financial terms have changed

postpetition, explain the difference and the reasons for the difference. Answer: Neligan’s rates for

its pre-petition work for these Debtors were the same as they will be for Neligan’s post-petition

work – John D. Gaither - $525 per hour; Douglas J. Buncher - $625 per hour; Patrick J. Neligan,

Jr. - $725 per hour; and Ruth Clark - $150 per hour.

                  (d)     Has your client approved your prospective budget and staffing plan, and, if

so, for what budget period? Answer: Yes, for the first 90 day period post-petition. Neligan will

continue to work with the Debtors to formulate budgets and staffing plans for subsequent periods

as the cases progress.

           13.    This Application is supported by the Declaration of John Frazer, attached hereto as

Exhibit C, which contains the verified statement required by the UST Guidelines, section D, which

governs applications for employment.

                                              IX. PRAYER

           For the reasons set forth above, the Debtors request that the Court enter an order (i) granting

the relief requested herein; and (ii) granting any further relief the Court deems appropriate.

Dated: January 29, 2021                           National Rifle Association of America

                                                  By:     /s/ John Frazer
                                                          John Frazer
                                                          Secretary and General Counsel




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